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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

 DENNIS DONNELLY, on behalf of himself
 and all others similarly situated,
                                                     Civil Case No. 4:25-cv-00150-RGE-WPK
                        Plaintiff,

        v.                                           DEFENDANTS J. ANN SELZER AND
                                                     SELZER & COMPANY’S UNRESISTED
 J. ANN SELZER, SELZER & COMPANY,                    MOTION FOR LEAVE TO FILE OVER-
 DES MOINES REGISTER AND TRIBUNE                     LENGTH REPLY TO PLAINTIFF’S
 COMPANY, and GANNETT CO., INC.,                     CONSOLIDATED RESPONSE BRIEF IN
                                                     OPPOSITION TO THE MOTIONS TO
                        Defendants.                  DISMISS


       Pursuant to Local Rule 7(h), Defendants J. Ann Selzer and Selzer & Company move,

unopposed, for leave to file a 19-page Reply to Plaintiff’s Consolidated Response Brief in

Opposition to the Motions to Dismiss (the “Opposition Brief”) (ECF No. 36). Plaintiff’s Amended

Complaint and his Opposition Brief raise important issues under the First Amendment and

involves novel theories of tort law. This Court granted Plaintiff leave to file an overlength, 39-

page consolidated opposition brief to the Defendants’ two briefs in support of their motions to

dismiss. (ECF No. 35). To fully address Plaintiff’s statutory and common law claims, J. Ann Selzer

and Selzer & Company respectfully request leave to file a reply brief exceeding the five-page limit

allotted by Local Rule 7(g). Pursuant to Local Rule 7(k), the undersigned counsel confirms he

conferred with counsel for all other parties, and they do not oppose this request.




Dated: July 7, 2025                               Respectfully Submitted,

                                                  /s/ Robert Corn-Revere
                                                  Robert Corn-Revere*†
                                                     (DC Bar No. 375415)
                                                  Conor T. Fitzpatrick*


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                               CERTIFICATE OF SERVICE
       The undersigned certifies that a true copy of the foregoing document was served upon all

parties of record through the Court’s CM/ECF electronic filing system on July 7, 2025.

                                                           /s/ Robert Corn-Revere




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